           UNITED STATES DISTRICT COURT EASTERN DISTRICT

                   OF CHATTANOOGA, TENNESSEE


 DOUGLAS A. DYER

      Petitioner



      V.                                                  Civ. A. No.lo ..d  v- !a(
                                                                              I- C
 MICHELLE FULGAM, in her official capacity              'Ju1J   es   4+chte y/ L e£
 As Acting Manager of the Nashville, Tennessee

 RRM, with responsibility and oversee of Chattanooga,

 Tennessee Halfway House

      Respondent

                    VERIFIED PETITION FOR A WRIT OF HABEAS CORPUS

                              UNDER 28 U.S.C. 2241

 Douglas A. Dyer #52293-074

 179 Callaway Court

 Chattanooga,Tn.37421

423-661-1729 dougdyer11@gmail.com



 Michelle Fulgam, Acting Manager, Nashville RRM

Residential Reentry Office

400 State St., Ste. 800

Kansas City, KS 66101

913-551-1139




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 1 of 60 PageID #: 1
          Petitioner Douglas Dyer, pro se, respectfully submits this Verified Petition for a Writ of

  Habeas Corpus, pursuant to 28 USC. 2241, along with the accompanying documents.

                               PRELIMINARY STATEMENT

          l.    I, Douglas Dyer am presently on Home Confinement, but under the law I should

  be released on July 19, 2021. Sentenced to five years in prison in 2017, I have been a model

  prisoner, and have taken advantage of the educational, rehabilitation, and anti-recidivism

  programming opportunities that the Bureau of Prisons ("BOP") provided me.

          2.    Congress, in passing the historic First Step Act, provided prisoners committed to

  avoiding recidivism the ability to earn early release by such efforts. I completed qualified

  programming and productive activities during my sentence that, under the First Step Act, earned

  me time credits, known as Earned Time Credits.

         3.     Per the Act, I am to receive 15 days of Earned Time Credit for every 30 days of

  anti-recidivism programming or productive activities completed. Earned Time Credits are

  required by the Act to be applied to the time I am eligible for accelerating the date on which my

 period of supervised release begins.

 4.     I have accumulated 229 days of Earned Time Credits, enough to have earned my release

 from Home Confinement on July 19, 2021. The BOP has refused to credit me with any of my

 Earned Time Credit. In fact, as far as I can tell they have failed to even attempt to calculate the

 amount of Earned Time Credit that I am due.

        5. I have made multiple efforts to have my Earned Time Credit applied, both with my case

 managers at FMC Lexington and with the RRC in Chattanooga, including via contact to the BOP



                                             I

Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 2 of 60 PageID #: 2
  Sentence Computation in Grand Prairie, Texas. At every tum, my efforts were either rejected or

  ignored.

             6. In refusing to provide me with the credit that I have earned, the BOP is unlawfully

  frustrating the First Step Act and the express direction of Congress.

            ?.Accordingly, I now seek the help of this Court via writ of habeas corpus, the so-called

 "Great Writ," to obtain the proper release date from prison that I earned under the First Step Act,

 that BOP has illegally refused me, and to which I have a legal right to under the Constitution and

 the laws of the United States.


                                           THE PARTIES

           8. Petitioner, Douglas A Dyer, is a sixty-one year old male formerly incarcerated at

 Lexington FMC in Lexington, Kentucky ("Lexington FMC"). His prisoner identification number

 is 52293-074. Currently on Home Confinement.

           9. Respondent Michelle Fulgam is the Manager of the Nashville, Tennessee RRM that is

 responsible for The Halfway House, for Chattanooga, Tennessee and is being sued in her official

 capacity. Respondent is in charge of the Chattanooga, Tennessee Halfway House that is

 monitoring my Home Confinement.


                                  JURISDICTION AND VENUE

           10. Petitioner brings this action pursuant to 28 USC. 2241 for relief from unlawful

 detention that violates my rights under the U.S. Constitution, including my Fifth Amendment

 rights.

           11. The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. 2241

 (habeas corpus), 28 U.S.C 1651 (All writs Act), Amend. V of the U.S.


                                               2
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 3 of 60 PageID #: 3
 Constitution, and 28 US.C. 1331 (federal question).



          12. Venue is proper in the Eastern District of Tennessee pursuant to 28

   U.S.C. 224l(d) because Petitioner is in custody in this judicial district and venue. Venue is also

  proper pursuant to 28 U.S.C. 1391(b)(2) because a substantial part of the events and omissions

  giving rise to these claims occurred in this district.

                                              BACKGROUND

         A.          My Sentence and Time in Custody

           13. On September 29, 2017 Judge Travis McDonough

  of the United States District Court for the Eastern District of Tennessee sentenced Me to 60

  months in prison, with an additional term of 3 years supervised release. This sentence was

  imposed as a result of a plea agreement with the Government.

         14. I began serving my sentence on December 1, 2017. My initial projected release date

         is March 4, 2022, and my elderly offender date was March 31, 2021.

          15. I have served as a model prisoner, enthusiastically engaging in every opportunity to

     better myself. I have taken advantage of the various classes offered by the BOP, assigned,

     directed and encouraged by my Case Manager at Lexington FMC, including serving an

     apprenticeship as a Dental Assistant, in the customer service area of UNICOR as the senior

     employee in the Waiver department, worked in Food Services and studied for and passed the

     national exam with "The American Society for Quality" ("ASQ") as a Certified Quality

     Improvement Associate (certification #14827). I have completed classes in Self-

     Improvement, Non-Residential Drug Abuse program, health-related classes, been an

     instructor in Health Core, coached several Prison softball teams, attended church services,




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 4 of 60 PageID #: 4
      organized Bible studies as well as completed several various general education classes, such

      as history, finance, and Occupational Therapy. Also completed the comprehensive BOP

      Threshold Program that prepares inmates for life after Prison.



           16. UNICOR is a prison industry and Lexington FMC serves as the customer service

  hub for the entire BOP. I was the senior inmate employee in the Waiver Department and worked

  with suppliers and vendors both in the BOP and outside Government Agencies. I was promoted

  and given pay raises and bonuses for extraordinary work. I was a full-time employee and worked

  in UNICOR for 147 days from September of 2019 through March of 2020. UNICOR has been

  shown to decrease recidivism. A BOP study, the Post-Release Employment Project, found that

  prisoners who participated in UNICOR "were 24% less likely to revert to criminal behavior as

  much as 12 years following release and 14% more likely to be gainfully employed following

  release from prison." Id Prisoners who participated in UNICOR "were also less likely to engage

  in prison misconduct while still incarcerated." Id. These anti-recidivist effects were increased for

  minority prisoners.

              17. In addition to classes that I completed prior to December 21, 2018 (date of enactment

  of the First Step Act and the date that federal prisoners can begin to earn Time Credits) I

  completed the following classes, jobs and productive activities("PA"): (completed on or after

  12/21/18)

 CLASS, JOB or PA                                                   DAYS OF PROGRAMMING

 UNICOR                                                                          147

 Food Services                                                                    61

 Non-Residential Drug Abuse                                                       8




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 5 of 60 PageID #: 5
  BOP Threshold Re-Entry Program                                              16

  Positive Attitude and Self-Esteem                                            10

  Resume and Interview Skills                                                 7

  AARP Finance over 50 years old                                               5

  Health and Nutrition                                                         1

  Money Smart                                                                  10

  Occupational Therapy "A Matter of Balance"                                   9

  Instructor, Health Core Topic                                                32

  ASQ Certified Quality Improvement Certification Class                           14

  ASQ Certification test (passed)                                                  1

  ACE Forex Trading Class                                                          8

  ACE United States Presidency                                                     8

  ACE World War I                                                                  8

  Christian Non-denominational services (usher)                                    74

  The History of the Church                                                        20

 Martin Luther Catechism Phase I                                                   20




 TOTAL DAYS of programming, work and PA's                                         459




 The First Step Act and Earned Time Credit

        18. The First Step Act, Pub. L. No. 115-391, 132 Stat 5194 (codified as amended in

 scattered sections of 18 U.S.C. and 34 U.S.C.), was enacted by Congress on December 21, 2018.




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 6 of 60 PageID #: 6
   It was engineered to reduce prison overcrowding by identifying individuals with a low risk for

   recidivism and providing them the opportunity to access additional privileges or further reduce

  their sentences by engaging in certain beneficial activities. 18 U.S.C.          1361, 1362(a)(l)-(8),

   1365(3),

            19. The First Step Act's legislative history reflects that Congress intended that it give

  "prisoners incentives to earn skills in prison so that they can be productive members of society

  after they have paid their debt." Senator Blumenthal (CT). "Bipartisanship." Congressional


  Record 164: 199 (Dec. 18, 2018) p. S7745. "Under this legislation, low-risk offenders will be

  able to earn credit by completing anti-recidivism programs that help better prepare them for life

  after prison." Senator Menendez (NJ). "First Step Act." Congressional Record 164: 199 (Dec.

  18, 2018)


 page S7752. "We know that when prisoners are equipped with the right tools and resources, they

 are better able to reintegrate into society and avoid old behaviors that could result in winding up

 back behind bars. That is not only good for them, it is good for their families and good for their

 acceptance into society." Former Attorney General William Barr stated that. .. " the First Step Act
 provides

  .'inmates [with] even greater incentive to participate in evidence-based programs that prepare

  them for productive lives after incarceration." Department of Justice Announces Enhancements

  to the Risk Assessment System and Updates on First Step Act Implementation, Department of

  Justice         Office         of        Public        Affairs,        January         15,       2020,

 https://www.justice.gov/opa/pr/departmentjustice-announces-enhancements-risk-assessment-

 system-and-updates-first-step-act. He noted that "this is what Congress intended with this




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 7 of 60 PageID #: 7
  bipartisan bill." Id. "The First Step Act is an important reform to our criminal justice system, and

  the [DOJ] is committed to implementing the Act fully and fairly." Id.

        20. Among the various incentives included in the First Step Act are credits colloquially

        known as "Earned Time Credit." See 18 U.S.C. 3632(d)(4). These are incentives earned

        by prisoners as a result of their successful participation in either evidence-based recidivism

        reduction ("EBRR") programming or productive activities, each of which is defined in the

        Act. They are applied "in addition to any other rewards or incentives for which a prisoner

        may be eligible." 18

  U.S.C. ~J632(d)(6)

                    21. The Act defines an EBRR program as "either a group or individual

                        activity" that: (A) "has been shown by empirical evidence to reduce

                        recidivism" or is likely to be effective in doing so; or (B) "is designed to

                       help prisoners succeed in their communities upon release from prison. 18

                       U.S.C 3635(3). EBRR Programs may include activities such as "academic

                       classes," "substance abuse treatment," "vocational training," "religious

                       services" or "a prison job, including through a prison work program." Id.

                   22. The First Step Act expressly states that prisoners may earn time credits for

                       EBRR programs completed on or after December 21, 2018, the date of

                       enactment of the Act. 18 USC 3632(d)(4)(B)




                                                  l
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 8 of 60 PageID #: 8
      "Productive activity" is defined by the Act as "either a group or individual activity that is

      designed to allow prisoners determined as having a minimum or low risk of recidivating to

      remain productive and thereby maintain a minimum or low risk of recidivating ...." 1s
      u.s.c. 3635(5).

                         23. The Department of Justice ("DOJ") has issued guidance describing specific

                             EBRR programs and productive activities that are entitled to Earned Time

                             Credit upon completion.

     24.All prisoners not subject to deportation are eligible for incentives and rewards for completed

     programming and productive activities, including Earned Time Credit, provided that they were

     not convicted of one of a list of enumerated offenses contained in 18 U.S:C. 3632(d)(4)(D)(i)-

     (lxviii). Prohibitive crimes include, inter alia, those relating to:

 drive by shootings; chemical weapons; genocide; sexual abuse, and terrorism.                         See

 18, US,C. Ji§§ :353·2(d)(4)(D.)(Hi),(xi), (xxiv), (xxxvii), (xlvii);3632(d)( 4)(E)(E)

             25.An eligible prisoner "shall earn 10 days oftime credits for every 30 days of successful
     participation in [EBRR] programming or productive activities. "


     18 U.S.C. 3632(d)(4)(A). An eligible prisoner who is "determined by the [BOP] to be at a

     minimum or low risk for recidivating, who, over 2 consecutive assessments, has not increased

     their risk of recidivism, shall earn an additional 5 days of time credits for every 30 days of

     successful participation in evidence-based recidivism reduction programming or productive

     activities" for a total of 15 days of Earned Time Credit for every 30 days of successful

                        1
     programming. Id.



 1
     The recidivism assessment process is set forth at 18 U.S.C. 3632(a).




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 9 of 60 PageID #: 9
              26. Pursuant to the Act, Earned Time Credit "shall be applied toward prerelease custody

   or supervised release." 18 U.S.C. 3632(d)(4)(C). If part of the prisoner's sentence includes a term

   of supervised release, the Director of the [BOP] may transfer the prisoner to begin any such term

   of supervised release at any earlier date, not to exceed 12 months, based on the application of

   Earned Time credits under section 3632. 18 U.S.c. § 3.624(g)(3)

    27. On or around December 3, 2019 I received from my case manager my PATTERN score and

   authorization that my PATTERN score made me Eligible for the First Step Act and a recidivism

   level of Minimum. On or around April 11, 2020 my case manager gave me a second evaluation

   in anticipation of me being sent to Home Confinement under the CARES Act and my score was

   still "Eligible" and "Minimum", thus triggering the additional 5 days of Time Credits for every

   30 days of successful participation in Evidence-Based Recidivism Programs and Productive

   Activities. I was now eligible for 15 days of Time Credits for every 30 days of programming and

   participation.




      28. All of these programs, a total of 459 days of programming, were completed on or after

   December 21, 2018, the date on which the First Step Act was enacted, and thus qualify for Earned

   Time Credit under the Act.

        29. My 459 days of successful programming equals 15.30 months (30-day periods) of credit.

  Applying 15 days of Earned Time Credit for each 30-day period of successful programming, as

  required by the Act, results in a total of 229 days of Earned Time Credit that

  I earned.


                                                   q
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 10 of 60 PageID #: 10
          30. Based on the Earned Time Credits my release date should be July 19, 2021 rather than

    March 3, 2022.

           The First Step Act Requires that the BOP Credit Prisoners for Programming That

            Was Successfully Completed On or After December 21, 2018

   31. The BOP may argue that I am disqualified from receiving Earned Time Credit for the

   "educational, vocational, religious and health-related programs" that I completed before January

   15, 2020. That potential argument is directly contradicted by the plain language of the First Step

   Act and the recent ruling of a district court See Hare v Ortiz. No. CR 18-588-1 (RMB), 2021 WL

   391280 (D.N.J. Feb. 4 2021)

           32. Under 18 USC 3632(d)(4)(B), prisoners are entitled to earn time credits for EBRRs that

   they "successfully completed on or after the date of enactment of this subchapter." Id. The date

   of enactment of the relevant subchapter was December 21, 2018. Id see Hare, 2021 WL 391280,

   at *6; Pet. Paragraph 29. It is undisputable that I completed all of the programs for which I seek

   Earned Time Credits on or after that date. It is also undisputable that I was eligible for such

   credits. Accordingly, I have a legal right to receive Earned Time Credit for each and every such

   program, job, PA or faith-based program.

    33.    That is exactly what the Hare Court held. In that habeas corpus case, the BOP argued that

   the Court should "interpret the date of enactment of this subchapter" in 3632(d)(4)(B)(i) to mean

  January 15, 2020" Hare, 2021 WL 391280, at *6 se 85 Fed. Reg. 75268-01 (to be codified at

  28 C.F.R. 523.42(d)(l). The Court made short work of that argument, noting the "ordinary

  meaning of the term" clearly indicated December 21, 2018, and the BOP used that as the date of


                                                   /0
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 11 of 60 PageID #: 11
   enactment when calculating other dates within the Act. Id. *6-7. It concluded that "there is no

   ambiguity here. As a result, if Petitioner successfully completed an EBRR program, PA or faith-

   based program on or after December 21, 2018 , he is entitled to earn Time Credits" Id. At *7 .

   Similarly, in Goodman v Ortiz, the court credited petitioner with Earned Time Credit for

   programming dated from November 6, 2019. Id. No. CV 20-7582 (RMB), 2020 WL 5015613,

   at *6 (D.N.J. Aug 25, 2020); see id. ECF No. 1-2 at paragraph 4.3 (seeking Earned Time Credit

   for activities that petitioner participated in since November 6, 2019) The Court should require the

   BOP to adhere to the plain language of the First Step Act and credit me with 229 days of Earned

   Time Credit that I earned for taking these BOP-approved and provided educational, vocational,

   health-related and faith-based programs.

     The Act's Plain Language Entitles Qualifying Prisoners to RECEIVE
   Credit Beginning January 15, 2020, Not January 15,2022

         34.Section 3621(h)(l) states that on January 15, 2020, 180 days after the Attorney

  General completed and released the System, the BOP was to "implement and complete an

  initial risk and needs assessment for each prisoner" and "begin to assign prisoners to

  appropriate [Programs]." 18 U.S.C. § 3621(h)(l)(A). The BOP also was required to "begin

  to expand the effective [Programs] and productive activities it offers and add any new

  [Programs] and productive activities necessary to effectively implement the [System]." 18

  U.S.C. § 3621(h)(l)(B). Finally, the BOP was also to "begin to implement the other risk

  and needs assessment tools necessary to effectively implement the System over time, while

 prisoners are participating in and completing the effective [Programs] and productive

 activities." 18 U.S.C. § 362l(h)(l)(C) (emphasis added). These requirements all align with



                                                   II
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 12 of 60 PageID #: 12
  the plain language of the phase-in provision, which immediately follows this language and

  which requires that Programming actively commence on January 15,

  2020 and gradually expand to apply to "all" prisoners by the end of the phase-in period on
  January,15, 2022. The 2022 date is thus not the date on which the Programming "takes

  effect," rather, it is the end date by which the BOP must have expanded Programming to

  cover all inmates. Section 3621(h)(2) then plainly states that the two year "phase-in"

  period is the outer limit on when BOP must make Programming and the resulting credits

  available to "all" prisoners. 18 U.S.C. § 362l(h)(2). 2 The section is clear that while the

  phase-in period is to be used to make the program available for "every" and "all" prisoners,

  18 U.S.C. § 3621(h)(2)(A), certain prisoners, such as Me, already have been permitted and

  indeed are expected to "participate in and complete Programs and productive activities."

  18 U.S.C. § 3621(h)(2)(B). There is no dispute that this is exactly what I did, in full

  compliance with the Act. The plain language of the statute expressly and unambiguously

  expects prisoners to participate in Programs and activities and to accumulate credits as a

  result. The statute's requirement that the BOP extend the program by January 15, 2022 to

  cover all prisoners is to police the BOP's compliance, not to disincentivize participants.

  Respondent may claim that the phase-in means that the provision "has not yet taken effect"

  is contrary to the statute's unambiguous language and should be rejected.



  2
   (2) Phase-in.--In order to carry out paragraph (1), so that every prisoner has the opportunity to
  participate in and complete the type and amount of [Programs] or productive activities they need,
  and be reassessed for recidivism risk as necessary to effectively implement the System, the [BOP]
  shall--
    (A) provide such [Programs] and productive activities/or all prisoners before the date that is 2
   years after the date on which the [BOP] completes a risk and needs assessment for each prisoner
    under paragraph (l)(A); and
    (B) develop and validate the risk and needs assessment tool to be used in the reassessments of
   risk of recidivism, while prisoners are participating in and completing [Programs} and
   productive activities. (emphasis added).

                                                   ii
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 13 of 60 PageID #: 13
    35.More fundamentally, as forth in my Petition, I have spent 459 days
  participating in

  evidence-based recidivism programming("EBRR"), prison jobs, Productive

  Activities ("PA"), classes and faith-based programming. All of these have been

  encouraged, recommended and discussed with my Case Manager, Ms. Mitchell

  on multiple occasions, that included "team" meetings and scheduled meetings

  with Ms. Mitchell. Some of these programs and classes I signed up for and then

  the BOP determined what prisoners would be selected to participate and what

  prisoners would not be selected. All of these were completed on or after the

  enactment of the First Step Act on December 21, 2018. Under the First Step Act

  my successful participation in the activities qualified me for the 229 days of

  Earned Time Credit. If the BOP argues that those efforts only advanced me a

  shorter period, the BOP's calculation is flatly wrong under the law.



   36.lf the BOP arrives at some heavily discounted number by refusing to apply the

  plain language of the First Step Act; and instead relies on interpretations of the

  statute that are starkly inconsistent with it, and use draft regulations that have

  not been enacted, the BOP is again wrong under the law. Especially if these

  interpretations and draft regulations employ a number of devices-none of which

  are contemplated by the Act-that would drastically reduce the amount of credit

  that prisoners like myself can earn to reduce our time in prison.

  37.    If the BOP purports to cap the maximum amount of time awarded for

  successful completion of various programs, this cap would not be based in the

  statute or even in the proposed regulations. It would simply be made up by the

  BOP, and it is antithetical to the First Step Act in letter and spirit. If the BOP

                                              /3
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 14 of 60 PageID #: 14
  attempted this, it would have a drastic effect on my and, indeed, scores of

  similarly situated prisoners, as it would limit Earned Time Credits we have earned
  for programs

  like UNICOR and the Threshold program, despite the long-term commitment that

  each of these immersive programs require and the long-term skills that each

  confer. In my case where I participated in a full-time seven and one-half month

  program I should be awarded full credit for that successful participation.

  38.    If the BOP is contemplating their "own" definition of what a "day" of

  programming is, the BOP is again not following the First Step ACT in law or spirit.

  The BOP's proposed EBRR Manual is flawed as it does not include ACE classes,

  jobs that teach inmates skills, restricts freedom of religion and limits the amount

  of programming days an inmate can earn. As an example, if an inmate who works

  in UNICOR and meets his Earned Time Credit early in his time on the job, what

  incentive would he have to continue this intensive and time-consuming program?

  This is clearly what Congress has been admonishing the BOP about during

  hearings where the Director of the BOP testifies, like in the April 15, 2021 hearing

  in the Senate Judiciary Committee. If the DOJ's EBRR guidance list duration of

  credit in   "hours ✓,,   the statute specifically states that credit is earned in days. See

  18 USC 3632(d)(4)(A}(i)-(ii) ( A prisoner shall earn 10 days of time credits for every

  thirty {30) days of successful participation ... A prisoner ... shall earn an additional

  5 days of time credits for every 30 days of successful participation in

  programming or productive activities.") It is well established that "agencies
  exercise

  discretion only in the interstices created by statutory silence or ambiguity; they

  must always give effect to the unambiguously expressed intent of Congress." Util.


                                                   I 'f
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 15 of 60 PageID #: 15
   Air. Regulatory Grp. v E.P.A.. 573 U.S. 302, 326(2014). Accordingly, the District

  Court for the District of New Jersey recently credited an individual with Earned

  Time Credit calculated in days. See Goodman v. Ortiz, Civ. 20-7582(RMB), 2020

  U.S. Dist. LEXIS 153874, at *15 ( D.N.J. Aug. 25, 2020).




        39. under the application of the Act, makes transfer to Probation and Supervised Release the

   Highest application of earned time credits. This application is my due process protected liberty

   interest in rights granted by the federal law evidenced by the Act. In addition, 3632(d) the

   incentives described in this Subsection shall be in addition to any other rewards or incentives for

   which a prisoner may be eligible. ( i.e. CARES Act and Elderly Offender status)

       40. The Act establishes the unambiguous time table for FB0P actions:

     Section 102 of The Act states:

     Implementation of System and Recommendations by the Bureau of Prisons. "§3631(h)(1).

     Not later than 180 days after the Attorney General completes and releases the Risk and

     Needs Assessment System [January 15, 2020] the Director of the Bureau of Prisons shall. ...

     (B) begin to expand the effective Evidenced-Based Recidivism Reduction Programming or

     Productive Activities it offers ..... necessary to effectively implement the "System" The Act

     made clear that the January 15, 2020, date is when the "System" must be implemented.

     The effective date of The Act was even earlier than the January 15, 2020 date, namely: July

     19, 2019. The statute also made clear that the Date of Enactment (when inmates could

     begin EARNING Time Credits was December 21, 2018) And this fact is clear and

     unambiguous in The Act: "Sec. 102· §3631(b)(2). The Amendment made by this


                                                   ,~
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 16 of 60 PageID #: 16
     Subsection shall take effect beginning on the date that the Attorney General

     completes and releases the Risk and Needs Assessment System [July 19, 2019]

     under Subchapter D of Chapter 229 of Title 18, United States Code, as added

  by Section 101(a) of this Act.    To further support the aforementioned date of

  January 15, 2020, as the

      mandatory implementation date for the earned time credits,

     a memo- dated- January 15, 2020, purporting to be from the

     "Office of Public Affairs, "states:

     https://www.justice.gov/opa/pr/department-justice-announces-
     enhancements-risk-assessment-system-and-updates-first-step-act

   41.My eligibility was established and confirmed by Case Manager Ms.

     Mitchell's handwritten assessment determination, "FSA Eligible."

     WHEREFORE, as my qualification for and participation in FBOP programing

     and educational activities particularly designated and assigned me

     to obtain diminution credits by Case Manager Ms. Mitchell herself and

     calculated under the First State Act. named Immediate Custodian's herein

     refusal to calculate my credits, unlawfully restrains me of my personal federal

    civil right of liberty under the 14th and 15th

    Amendments due process and equal protection guarantee of the Federal

    Constitution for my release date of July 19, 2021 instead of my

     projected release date of March 4, 2022.

  There is already a precedent to this awarding of my First Step Act Time Credits:

      42. Goodman v. Ortiz (1:20-cv-07582)

 On August 25, 2020 United States District Judge Renee Marie Bumb



                                            I (p
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 17 of 60 PageID #: 17
   "Ill. CONCLUSION The BOP's position that a prisoner can complete the PATTERN
  program before January 15, 2022 with no benefit to the prisoner is contrary to
  the statutory language, not to mention the unfairness of such a result. Therefore,
  the Court concludes that Petitioner is entitled to habeas relief. The Court will
  direct the BOP to immediately apply Petitioner's Earned Time credit of 120 days in
  an accompanying Order."

  The entire Order and opinion can be read at
  https://www.courtlistener.com/recap/gov.uscourts.njd.437697/gov.uscourts.nid.
  437697.12.0.pdf



  B. Exhaustion of Administrative Remedies
     43.The parties acknowledge that there is an administrative remedy exhaustion

  Requirement applicable to petitions for a writ of habeas corpus under 28 USC

  2241, but there are exceptions to the requirement. See Cerverizzo v Yost, 380 F.

  App'x 115, 116 {3d Circuit 2010) (citing Woodall v Fed. Bureau of Prisons, 432 F.3d

  235, 239 n. 2 {3d Cir. 1986); Gambino v Morriss, 134 F. 3d 156, 171 {3d Cir. 1998)

  ( Roth, J., concurring).

     44. This case, however, presents a narrow dispute of statutory construction

  which is exempt from exhaustion requirement. See Coleman v U.S. Parole

  Comm'n, 644 F. App'x 159, 162 {3d Cir. 2016) ( "exhaustion is not required with

  regard to claims which turn only on statutory construction") (citing Harris v

  Martin, 792 F. 2d 52, 54 n. 2 (3d Cir. 1986)) . Morever, because the Court finds

  habeas relief should be granted, exhaustion is excused. See Gambino, 134 F.3d at

  171 ("exhaustion is not required when petitioner demonstrates that it is futile")

    45.   Out of an abundance of caution, I sent my request to :

  1) Jeremy Clark, my case manager at Chattanooga Halfway House



                                            17
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 18 of 60 PageID #: 18
   2) RRM Nashville, Tennessee

   3) "Team Bravo" at the BOP Sentence Computation Center in Grand Prairie, Texas
   (at instructions from Jeremy Clark)

  4) Michelle Fulgam, Acting-Manager Nashville, Tennessee RRM with supervise
  responsibility of Chattanooga Halfway House

  5) Susie Morseman, Mid-Atlantic Regional Office of the BOP

  6) Office of General Counsel BOP, 320 First St. NW Washington, DC 20534



  C. Petition is ripe and other statements

     46. The BOP may argue that the Petition is not ripe because according to it's

  calculation, I'm not currently eligible for release. This is incorrect as a matter of

  law. First, I will indeed be eligible for accelerated release on July 19, 2021, as set

  forth in this Petition. But in any event, my Petition challenges the duration of my

  sentence and I seek a speedier release from prison, an area that the Supreme

  Court has held lies at the "core of habeas corpus". Preiser v Rodriguez, 411 US

  475,487 {1973). My Petition is ripe and the Court may therefore proceed with the

  question of how much Earned Time Credit I have accrued.

    47. This is so because it challenges the duration of my confinement- an area
  that

  lies "within the core of habeas corpus", and one that courts have repeatedly

  found to be valid grounds for a petition. See Brown v Gov of New Jersey, 432 F.

  App'x 45, 46 {3 rd Cir 2011) (quoting Wilkinson v Dotson, 544 US 74, 79 (2005) and

  Preiser, 411 US at 487). "It is well established that habeas corpus is the exclusive

  avenue by which a person in custody may challenge the fact or duration of a

  conviction or sentence." Abdel-Whab v United States. 175 F. App'x 528 (3 rd Cir.



                                             I$
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 19 of 60 PageID #: 19
   2006) Such a claim is ripe and remains exclusively the subject of a habeas petition

   when a prisoner "seeks immediate or speedier release" Heck v Humphrey, 512 US

  477, 481 (1944); see Preiser, 411 US at 498 (claim that seeks "immediate or a

  speedier release" from confinement is "the heart of habeas corpus").

      48.   Preiser directly addresses the issue of ripeness in the context of the

  accumulation and calculation of time credits. In Preiser, the Supreme Court

  addressed a case in which prisoners "alleged that the deprivation of their good-

  conduct-time credits was causing or would cause them to be in illegal physical

  confinement, i.e., that once their conditional-release date had passed, any

  further detention of them in prison was unlawful". Id, at 487. The Supreme Court

  noted that although these particular prisoners would have gained "immediate

  release" habeas corpus "would have been their appropriate remedy" even if

  requested release only served to shorten the length of their actual confinement in

  prison." Id. The Supreme Court explained that "recent cases have established that

  habeas corpus relief is not limited to immediate release from illegal custody, but

  that the writ is available as well to attack future confinement and obtain future

  releases" Id. (citing cases). The Supreme Court concluded:

              "So, even if restoration of respondents' good-time credits had merely

              Shortened the length of their confinement, rather than required

              Immediate discharge from that confinement, their suits would still

              Have been within the core of habeas corpus in attacking the very

             Duration of their physical confinement itself. "It is beyond doubt

             Then, that the respondents could have sought and obtained fully

             Effective relief through federal habeas corpus proceedings."




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 20 of 60 PageID #: 20
   It is undisputed that my Petition challenges the duration of my confinement.

   Whether I have a legal right to "immediate" or "speedier" release is of no
   consequence

   Either way. My Petition is ripe.

         D.
   49.         More fundamentally, and as set forth in my Petition, I have spent 459 days

  participating in evidence-based recidivism reduction (EBRR) programming or

  productive activities (PA) since enactment of the First Step Act on or after

  December 21, 2018. Under the First Step Act (the "Act" or the "FSA"), my

  successful participation in these activities qualifies me to 229 days of Earned Time

  Credit.

  SO. The BOP may argue that the FSA would allow the BOP to award credit only for

  programming completed after January 15, 2020. This would directly contradict

  the plain language of the First Step Act, which flatly states that prisoners can earn

  credit for programming completed on or after the First Step Act's enactment

  date, December 21, 2018.

  51.         The BOP may argue that the Court should defer to its interpretations and

  proposed regulations in accordance with Chevron, USA, Inc v Natural Resources

  Defense Council, Inc. 467 US 837,843 (1984). But that high level of deference is

  unwarranted under the Chevron because the BOP's interpretations and proposed

  regulations will contradict, undermine and ignore both the plain language of the

  statute and Congress's oft-stated intent in enacting the FSA: that is, to maximize

  incentives for prisoners to receive the tools they need to become more

  productive members of society upon their release.

   52.        On April 15, 2021 members of the Senate Judiciary Committee reiterated



Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 21 of 60 PageID #: 21
  this intent to BOP Director Michael Carvajal during oversight hearing. The

  Committee's chairman also expressly criticized the BOP's proposed regulations for

  failing to comply with this intent. He (The Chairman) was correct, and the BOP's

  positions merit no deference. As Senator Grassley noted during the April 15, 2021

  hearing, in addressing the failure of the BOP to award the Earned Time Credits,

  "the pandemic hijacked many of the implementation efforts, but the BOP must do

  better and follow the law without excuse."

     53. The BOP would be simply incorrect as a matter of law. Their proposed

  regulations such as those that the BOP claims do not carry the force of law- a

  fact the BOP freely admits- and therefore not entitled to Chevron deference. The

  law is clear that a proposed regulation "does not represent an agency's

  considered interpretation of its statute". Commodity Futures Trading Comm'n v

  Schor, 478 US 833, 845 (1986). As such it is not entitled to any deference,

  Chevron or otherwise, by the Court. In addition, these particular proposed

  regulations lack any persuasive power and are of no use to the Court in

  interpreting and applying the statute. When the law is correctly applied to the

  undisputed facts, the result is that I should be released to supervised release on

  July 19, 2021 by accelerating the date on which my period of supervised release

  begins.

   54. For all of the reasons and law explained above, I have a legal right to have my

  Earned Time Credits applied to my sentence, and be released to supervised

  release on July 19, 2021.



                                          ;}. l

Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 22 of 60 PageID #: 22
                                  CLAIM FOR RELIEF

                             Issuance of a Writ of Habeas Corpus



   55. I have earned 239 days of Earned Time Credit under the First Step Act.

   56. Proper application of this Earned Time Credit requires the BOP to release me

  to supervised release on July 19, 2021.

   57. BOP has illegally and failed to apply, or even calculate, my Earned
  Time Credit, and as a result my date for supervised release is incorrect and risks

  me being improperly and illegally incarcerated after July 19, 2021.

  58. This failure to apply my Earned Time Credit violates my rights under the Fifth

  Amendment to the Constitution and the First Step Act.

  59. Accordingly, the Court should promptly issue a writ of habeas corpus,

  pursuant to 28 USC 2243, releasing me to supervised release on July 19, 2021



                          PRAYER FOR RELIEF

  WHEREFORE Petitioner requests the Court grant the following relief:

     i.     Issue a writ of habeas corpus to Respondent to awarding me 229 days

     of Earned Time Credit and set my release date to supervised released on July

     19, 2021.



     Respectfully Submitted,


          ~
     Douglas A. Dyer     May 12, 2021




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 23 of 60 PageID #: 23
                       SUPPORTING DOCUMENTS


  Affidavit sent to:

  Michelle Fulgum, Acting Manager, Nashville RRC

  RRM Nashville Residential Reentry Office

  "Team Bravo", BOP Sentencing Computation Center, Grand Prairie, Tx

  Jeremy Clark, Case Manager, Chattanooga Halfway House

  Susie Morse man, Mid-Atlantic Regional Office of the BOP

  Office of General Counsel BOP, Washington, DC

  (proof of delivery to each)

  Copy of affidavit sent

  Certificates of completed programs, EBRRP, PA

  December 3, 2019 dated PATTERN eligibility sheet




  Number of pages 36 (including "supporting documents" page)




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 24 of 60 PageID #: 24
 ' 4/26/2021 ·                                                     Gmail - First Step Time Credits




                 GmaH                                                                                Doug Dyer <dougdyer11@gmail.com>



    First Step Time Credits
    2 messages

    Doug Dyer <dougdyer11@gmail.com>                                                                         Thu, Apr 22, 2021 at 2:11 PM
    To: Jeremy Clark <jeremy.clark@uss.salvationarmy.org>

       Jeremy, Since you are the only contact person I have with the BOP, i have sent this to you. As I mentioned, I called Grand
       Parie { sentence computation) and they said They could not talk to me and referred me to call my Counselor.

      See attached and let me know who you think it should go to.

      Call me if you have any questions

      Doug Dyer


       ~    Affidavit of Douglas A.docx
            23K


   Jeremy Clark <Jeremy.Clark@uss.salvationarmy.org>                                                         Thu, Apr 22, 2021 at 2:16 PM
   To: Doug Dyer <dougdyer11@gmail.com>


      I don't understand your question to me? Call me if you like.

      [Quoted text hidden]




            Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 25 of 60 PageID #: 25
https://mail.google.com/mail/u/0?ik=a9e8bb5056&view=pt&search=all&permthid=thread-a%3Ar8016696726696850093&simpl=msg-a%3Ar488915464...   1/1
  To: Michelle Fulgum, Acting Manager, Nashville RRC

  913-551-1076 (fax)



  From: Douglas A. Dyer #52293-014 , : ·

  Phone 423-661-1729                .
                                              ,
                                            ....



 PAGES 26 (including cover)




                                        v




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 26 of 60 PageID #: 26
                                          FAX JOURNAL REPORT
                                                                       TIME    04/30/2021 15:20
                                                                       NAME    BACON PRODUCTS CORP
                                                                       FA>(    4238922065
                                                                       TEL     4238920414
                                                                       SER.H   U63274J4J780442


                         FAX NO./NAME                 DURATION    PAGE(S)      RESULT    COMMENT
NO.     DATE    TIME

                                                             33   01           DI<       RX        ECM
        03/24   08:45                                             01           DI<       RX        ECM
        03/24   13: 11   888 412 1475                        22
                                                          02:34   06           DI<       RX        ECM
        03/25   08:43                                             06           DI<       RX        ECM
        03/25   08:46                                     02:34
                                                          03:29   09           ot<       RX        ECM
        03/26   08:43                                                          DI<       RX        ECM
        03/26   08:47                                     03:41   09
                         8045616247                          40   02           DI<       RX        ECM
        03/29   07:52                                                          DI<       RX        ECM
        03/30   07:21    8045616247                       02:12   07
                                                             31   00           t-JG      RX
        03/30   10:26                                             01           DI<       RX        ECM
        03/30   10:30    844   361 5780                      26
                                                             19   01           DI<       RX        ECM
        03/31   15:50                                             02           DI<       RX        ECM
        04/01   07:18    8045616247                          40
                         14236297033                         22   02           DI<       TX        ECM
#037    04/01   15:08                                             07           OI(       RX        ECM
        04/04   11: 01   8045616247                       02:21
                                                             24   01           DI<       RX        ECM
        04/05   10:57    19                                                    DI<       RX        ECM
        04/05   15: 19   8045616247                       01:35   05
                                                          01:05   02           DI<       RX        ECM
        04/06   10:59                                                          DI<       RX        ECM
        04/06   11: 01                                    01:05   02
                         8045616247                          41   02           01<       RX        ECM
        04/07   07: 12                                            02           DI<       RX        ECM
        04/08   06:59    8045616247                          40
                         8045616247                          41   02           DI<       RX        ECM
        04/11   07:55                                             01           DI<       RX        ECM
        04/12   10:27    8775753187                          32
                         8045616247                       01:13   04           DI<       RX        ECM
        04/12   15:49                                             01           DI<       RX        ECM
        04/13   11: 40   754 892 7103                        30
                                                             27   01           01<       RX        ECM
        04/13   14:29                                             02           OI(       RX        ECM
        04/15   07:32    8045616247                          39
                         8045616247                          40   02           DI<       RX        ECM
        04/19   07:38                                        47   02           01<       RX        ECM
        04/19   10: 47   4053508514                                            DI<       TX        ECM
#038    04/20   11:05    14053508514                         45   01
                                                          03:40   09           DI<       RX        ECM
        04/21   09:20                                             09           DI<       RX        ECM
        04/21   09:24                                     03:40
                         8045616247                       01:31   03           01<       RX
        04/22   15:35                                             02           OI(       RX        ECM
        04/25   15:49    8045616247                          40
                                                             19   01           DI<       RX        ECM
        04/26   10: 15                                            01           DI<       RX
        04/27   10:55                                        59
                         888 412 1475                        29   01           DI<       RX        ECM
        04/27   11:24                                             02           DI<       TX        ECM
#039    04/28   10:38    12524431323                         30
                                                             13   01           DI<       RX        ECM
        04/29   11: 04                                            02           DI<       TX        ECM
#040    04/29   14: 01   13047996567                         24
                         19135511076                      05:30   26           DI<       TX        ECM
#043    04/30   15:00

                  BUSY   BUSY /NO RESP• t-lSE
                  NG     POOR LINE CONDITION I OUT OF MEMORY
                  CV     COVERPAGE
                  POL    POLLING
                  RET    RETRIEVAL
                  PC     PC-FAX




       Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 27 of 60 PageID #: 27
  To: RRM Nashville, Manager

     Residential Reentry Office

  701 Broadway St. Suite 124

  Nashville, Tn 37203



  First Step Time Credits, Affidavit of Douglas A. Dyer #52293-074



 I am on Home Confinement via the CARES Act, although I also qualify for Elderly
 Offender status. I am 61 years old.



 I presented this to my Counselor Jeremy Clark, with the BOP Salvation Army
 Halfway House in Chattanooga, Tennessee on April 22. 2021



 Thank you

 Douglas A. Dyer
 #52293-074
 179 Callaway Ct.
 Chattanooga, Tennessee 37421
 423-661-1729




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 28 of 60 PageID #: 28
   4/30/2021                                                    USPS.com® - USPS Tracking® Results




      USPS Tracking®                                                                                          FAQs>




                                                    Track Another Package                 +




                                                                                                            Remove X
     Tracking Number: EJ596377735US

     Scheduled Delivery by

     FRIDAY
                                     by
     30              APRIL
                     2021(1)         3:00pm©                                                                       .,,
                                                                                                                   Cl>
                                                                                                                   Cl>
                                                                                                                   a.
                                                                                                                   O"
                                                                                                                   ll>
                                                                                                                   (')

     &Delivered                                                                                                    ""
    April 30, 2021 at 11 :32 am
    NASHVILLE, TN 37203


    Get Updates v




        Text & Email Updates                                                                                   V


        Proof of Delivery


       To request a Proof of Delivery email with full details including a delivery address, sign in to
       your USPS.com® account. )

       For a Proof of Delivery email without a delivery address, provide your name and email
       address below.

       "Indicates a required field


       *First Name                                                                                   M.I.
          Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 29 of 60 PageID #: 29
https://tools.usps.com/go/TrackConfirmAction?tlabels=EJ596377735US&                                                 1/3
 To: BOP, Team Bravo

     346 Marine Forces Dr ,,.,,,
                             ~

     Grand Prairie, Texas 7/051



 First Step Time Credits, Affidavit of Douglas A. Dyer #522-93-074



I am on Home Confinement via the CARES Act, although I also qualify
for Elderly Home Offender status.



I presented this to my Counselor, Jeremy Clark, with the Salvation Army
Halfway House in Chattanooga,,-Tennessee on April 22, 2021

Was told to forward this to BOP Grand Prairie, Tx attention Team Bravo



Thank You

Douglas A. Dyer

179 Callaway Ct.
Chattanooga, Tennessee 37421

423-661-1729




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 30 of 60 PageID #: 30
  ~     UNITED ST/J.TES
 /Eiffl, POST11L SERVICE
 April 27, 2021


 Dear douglas dyer:


 The following is in response to your request for proof of delivery on your item with the tracking number:
 EJ65 0310 474U S.

 Item Details

 Status:                                                  Delivered
 Status Date I Time:                                      April 27, 2021, 11 :34 am
 Location:                                                GRAND PRAIRIE, TX 75051
 Postal Product:                                          Priority Mail Express 1-Day®
 Extra Services:                                          Insured
                                                          PO to Addressee
                                                          Up to $100 insurance included
 Actual Recipient Name:                                   D HEILMAN
 Note: Actual Reci ient Name ma va       if the intended reci ient is not available at the time of delive

 Shipment Details

 Weight:                                                 6.0oz
 Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
4 75 L'Enfant Plaza SW
Washington, D.C. 20260-0004




   Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 31 of 60 PageID #: 31
  Office of General Counsel

  Room 924

  Federal Bureau of Prisons

  320 First Street N.W.

  Washington, DC 20534



 This will serve as my BP-11



 Douglas A. Dyer inmate #52293-074

 179 Callaway Ct.

 Chattanooga,Tn.37421

 Phone 423-661-1729

  .--
 ) ,'--.vt-f




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 32 of 60 PageID #: 32
  ~     UNITED ST/,lTES
 /EiliJ POSTl.!L SERVICE
 May 5, 2021


 Dear douglas dyer:


 The following is in response to your request for proof of delivery on your item with the tracking number:
 EJ70 7563 226U S.

 Item Details

 Status:                                                   Delivered
 Status Date I Time:                                       May 5, 2021, 11 :59 am
 Location:                                                 WASHINGTON, DC 20534
 Postal Product:                                           Priority Mail Express 1-Day®
 Extra Services:                                           Insured
                                                           PO to Addressee
                                                           Up to $100 insurance included
 Actual Recipient Name:                                    D HILL
.. Note: Actual Recipient Name may vary if the intended recipient is not available at the time of delivery.

 Shipment Details

.Weight:                                                  6.0oz
 Recipient Signature

                                                           LL. ¾         'If
                   Signature of Recipient:
                                                           LJ ,h1J1
                    Address of Recipient:                  2-os.3;!
Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
4 75 L'Enfant Plaza SW
Washington, D.C. 20260-0004




  Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 33 of 60 PageID #: 33
  Mid-Atlantic Regional Office

  Staff

  302 Sentinel Dr.

  Suite 200

  Annapolis Junct., MD 20701



  This will serve as my BP-10

  From: Douglas A Dyer inmate #52203-074

          179 Callaway Ct

          Chattanooga, TN 37421




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 34 of 60 PageID #: 34
  ~      UNITED STIJTES
 fEijj POSTIJL SERVICE

 May 4, 2021


 Dear douglas dyer:


 The following is in response to your request for proof of delivery on your item with the tracking number:
 EJ54 2722 643U S.

 Item Details

 Status:                                                                          Delivered
 Status Date I Time:                                                              May 4, 2021, 11 :56 am
 Location:                                                                        ANNAPOLIS JUNCTION, MD 20701
 Postal Product:                                                                  Priority Mail Express 1-Day®
 Extra Services:                                                                  Insured
                                                                                  PO to Addressee
                                                                                  Up to $100 insurance included
 Actual Recipient Name:                                                           C HUGAR
 Note: Actual Recipient Name may va!Y if the intended recipient is not available at the time of delivery. _ _ _ _ _ _ __

 Shipment Details

Weight:                                                                           6.0oz
Recipient Signature


                        Signature of Recipient:
                                                                                        tf.-Y~
                                                                                       j<l<ooronc;
                                                                                  302 SENTINEL DR ANNAPOLIS
                                                                                  JUNCTION, MD 20701
                          Address of Recipient:                                           5V\/ft"' ;J.a:,

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
4 75 L'Enfant Plaza SW
Washington, D.C. 20260-0004

    .,-, : __ iL " c1- ru .ttt \
    l.   v•        l




          ' '<' ' /
         i___,, .) If
                         ;jJlI, [,• /[,,,' )(' i-' ,f/,,
                        / b'                               t,
                                                                 ,, J
                                                                q_ ,t/   3   L;   t




  Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 35 of 60 PageID #: 35
  Affidavit of Douglas A. Dyer

  I, Douglas A. Dyer, being of sound mind and body, am competent to make this
 Affidavit and swear the following is true and correct from my personal
 knowledge, experience and memory and where I quote or reference or
 paraphrase another person; I believe that quote, reference or paraphrase to be
 correct and true to the best of my memory.

    (1) "Enacted on December 21, 2018, the. First Step Act (FSA; hereinafter "The Act     11
                                                                                            ) was the result


        of a bipartisan legislative effort to moderately overhaul the criminal justice system .. ; Congress
        aimed to .enhance public safety by improving the effectiveness and efficiency of the federal
        prison system with offender risk and needs assessment, individual risk reduction incentives and
        rewards, and risk and recidivism reduction . H R Rep . No . 115 -699 at 22 ( 2018) . 11 See United
        States v. Simmons, 375 F. Supp. 3d 379 (2nd_ Circuit, 2019). The Act authorized:
        ( 1.1)    §3632(a). Not later than 210 days after the date of enactment of this Subchapter [July
                 19, 2019], the Attorney General, in consultation with the Independent Review
                 Committee authorized by the First Step Act Qf 2018, shall develop and release publicly
                 on the Department of Justice website, a Risk and Needs Assessment System, which shall
                 be used to §3632(a)(1) Determine the recidivism risk of each prisoner as part of the
                 intake process, ' and classify each prisoner as having a minimum; low, medium, or high
                 risk of recidivism."
        (1.2)    On 11-26-19, Federal Bureau of Prisons ("FBOP") via Case Manager Ms. Mitchell at
                 Lexington FMC, conducted the initial Risk and Needs Assessment via the Prisoner (Me)
                 Assessment Tool Targeting Estimated Risk and Need (PATTERN) tool, and I was
                 determined to have a "MINIMUM" risk of recidivism. Therefore, I am in full compliance
                 of the above subchapter.


    (2) Next, Case Manager Ms. Mitchell completed The Act's determination and assignment of
        Evidence-Based Recidivism Reduction Programming of the Risk and Needs Assessment System.
       (2 .1) " §3632. Determine the type and amount of Evidence Based Recidivism Reduction
       Programming that is appropriate for each prisoner, and assign each prisoner to such
       programming accordingly "
       (2.2) Ms. Mitchell, on multiple occasions met with me and told me to participate in what she
       called "All Programming" and said I was to participate in Adult Continuing Education (ACE)
       classes, Any and All Productive Activities, Faith-based classes and services, Non-Residential Drug
       Addiction Program, Prison jobs including UNICOR and all Evidence-based Recidivism Reduction
       Programming.


   (3) Case Manager Ms. Mitchell informed me both on 11-26-19 and multiple meetings and "Team"
                                        11
       that these assignments met 3635(3) requirements of the Act."
       (3.1) "3635(3) "The term Evidence-Based Recidivism Reduction Programing means either a
       group or individual activity that :




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 36 of 60 PageID #: 36
              11
           (A) has been shown by empirical evidence to reduce recidivism or is based on research
        indicating that its likely to be effective in reducing recidivism;
         (B) is designed to help prisoners succeed in their communities upon release from prison; and
         ( C ) may include (iv) academic classes (vii) substance abuse treatment (viii) vocational training
        (ix) faith-based classes or services (xi) a prison job, including through a prison work program 11

        (3.2) Per Case Manager Ms. Mitchell's assignments I successfully participated and completed
        the following Academic (ACE) classes, Substance abuse classes, productive activities, EBRRP
        programs, faith-based classes and services, Prison jobs and UNICOR and assigned productive
        activities. ALL of these completed AFTER the date of enactment of the ACT December 21, 2018:

        PROGRAM                                                                                DAYS

        UNICOR- customer service, waiver dept.                                                 147
        Prison Job- Cafeteria                                                                   61
            Per 3635(3)(c)(xi) of the ACT and listed by the FBOP in its official publication
            On page 1 of evidence-based recidivism reduction programs and productive
            Activities
        Non-Residential Drug Abuse Program                                                       8
             Per 3635(3)(c) (vii) of the Act and page 1 of the FBOP publication
        BOP Threshold Re-Entry Program                                                           16
        Positive Attitude and Self-Esteem                                                        10
        Resume and Interviewing Skills                                                           7
        AARP Finance over 50 years old                                                            5
        Health and Nutrition                                                                      1
        Money Smart                                                                               10
       Occupational Therapy 11 A Matter of Balance"                                              9
       Instructor Health Core Topic                                                               32
       ASQ Certified Quality Improvement Certification Class                                      14
       ASQ Certification Test ( passed)
             All 10 above per 3635 (3}(c)(ii) and (viii) of the Act and page 1 of the FBOP
             Publication
       ACE Forex Trading Class                                                                       8
       ACE United States Presidency                                                                  8
       ACE World War I                                                                               8
             All 3 above per 3635 (3 )( c)(x) of the Act and page 4 of the FBOP Publication
       Religious Services                                                                            74
       The History of the Church                                                                     20
       Martin Luther Catechism Phase I                                                               20
              All 3 above per 3635(3)(c)(ix) of the Act

      Total DAYS      458 of programming

   (4) The Act provides at:




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 37 of 60 PageID #: 37
                11
        (4.1)        § 3632 ( d ) (4 ) (A) • A prisoner who completes Evidence-'Based Recidivism successfully
        Reduction Programming or Productive Activities, shall earn time credits as follows: (i) A prisoner
       shall earn 10 days of time credits for every 30 days of successful participation in Evidence-Based
       Recidivism Reduction Programming or Productive Activities (ii) A prisoner determined by the
       Bureau of Prisons to be at a minimum or low risk of recidivating, who, over 2 consecutive
       assessments, has not increased their risk of recidivism, shall earn an additional 5 days of time
       credits for every 30 days of successful participation in Evidence-Based Recidivism Reducti6n
       Programming or Productive Activities.


       (4.2) On approx. April 11, 2020 Ms. Mitchell completed a second consecutive PATTERN score in
       anticipation of my qualification for the CARES Act and determined again that my PATTERN score
                                                                                                    11
       had me in the MINIMUM risk of recidivism category which should have triggered the
       additional 5 days of Time Credits for every 30 days of successful participation ......" under the Act.
       Vesting me with a total of 15 days for every 30 days of programming.


       (4.3) I have successfully participating in The Act's authorized Evidence-Based Recidivism
       Reduction Programming and· Productive Activities since the date of enactment Dec 21, 2018.
       will have programmed for 458 days and, pursuant to The Act's grant of a right to earn
       dimunition credits that reduce my time in captivity by programming, I will have earned 228 days
       of The Act's grant of time credits (458 divided by 30 = 15.26 times 15 days= 228 days) 15 days
       for every 30 days of programming


      (5) Under The Act, application of time credits must go towards release from prison captivity, to
      wit: to Supervised Release; namely:

      ( 5.1) §3632(d)(4)(C). Time credits earned under this paragraph by prisoners who successfully
      participate in Evidence-Based Recidivism Reduction Programming or Productive Activities shall
      be applied towards time in Prerelease Custody or Supervised Release .


      (5.2) Accordingly, by The Act, my vested earned time credits from continuing Evidence -Based
      Recidivism Reduction Programming and Productive Activities through 6-31-20, will have Vested
      me 228 Days of earned time credits equal to 7 months and 18 days off my incarceration and
      Home Confinement, and release me to Probation and Supervised Release is thereby mandatory.


      (5.3) And further, The Act requires "Sec. 102 §3621(g)(3). If the Sentencing Court included as a
      part of the prisoner's sentence a requirement that the prisoner be placed on a term of
      Supervised Release after imprisonment the Director of the Bureau of' Prisons may transfer the
                                                                                       11
      prisoner to begin any such term of Supervised Release at an earlier date ....         based on the
      application of time credits under Section 3632."


      (5.4) under application of The Act, makes transfer to Probation and Supervised Release the
      highest application of earned time credits. This application is my due process protected liberty
      interest in rights granted by the federal law evidenced by The Act.




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 38 of 60 PageID #: 38
         (5 .5) "§3632(d) (6). In addition, the incentives described in this Subsection shall be in addition
         to any other rewards or incentives for which a prisoner may be eligible. ( i.e. CARES Act and
         Elderly Offender status )


     (6) The Act establishes the unambiguous time table for FB0P actions:

     (6 .1) Section 102 of The Act states:

     Implementation of System and Recommendations by the Bureau of Prisons. " §3631(h)(1). Not later
     than 180 days after the Attorney General completes and releases the Risk and Needs Assessment
    System [January 15, 2020] the Director of the Bureau of Prisons shall .... (B) begin to expand the
    effective Evidenced-Based Recidivism Reduction Programming or Productive Activities it offers
    ..... necessary to effectively implement the "System"

    (6 .2) The Act made clear that the January 15, 2020, date is when the "System" must be
    implemented. The effective date of The Act was even earlier than the January 15, 2020 date,
    namely: July 19, 2019. The statute also made clear that the Date of Enactment ( when inmates could
    begin earning Time Credits was December 21, 2018 ) And this fact is clear and unambiguous in The
    Act: "Sec. 102· §3631(b)(2). The Amendment made by this Subsection shall take effect beginning on
    the date that the Attorney General completes and releases the Risk and Needs Assessment System
    [July 19, 2019] under Subchapter D of Chapter 229 of Title 18, United States Code, as added by
    Section 101(a) of this Act.

    (6 .3) To further support the aforementioned date of January 15, 2020, as the mandatory
    implementation date for the earned time credits, a memo- dated- January 15, 2020, purporting to
    be from the "Office of Public Affairs, 11 states:

    https://www.justice.gov/opa/pr/department-justice-announces-enhancements-risk-assessment-
    system-and-updates-first-step-act

    "Today is another milestone. in implementing the First Step Act,"· said Attorney General William P.
    Barr. · · " Beginning today, inmates will have even greater incentive to participate in Evidence-Based
    Programs that prepare them for productive lives after incarceration. This is what Congress intended
   with this bipartisan bill." "As of January 15, 2020, inmates will be assigned to participate in Evidence-
   Based Recidivism Reduction Programs and Productive Activities based on an initial needs
   assessment conducted by the BOP. Participation and completion of those assigned programs and
   activities can lead to placement in Prerelease Custody or a 12-month sentence reduction under the
   First Step Act." • • • "In the interim, inmates will continue to be assigned to programs and activities
   based on their risk and needs and if eligible, will receive credit upon completion."

   (6.4) My eligibility was established and confirmed by Case Manager Ms. Mitchell's handwritten
   assessment determination, "FSA Eligible."

   (7.1) WHEREFORE, as my qualification for and participation in FBOP programing and educational
   activities particularly designated and assigned me to obtain diminution credits by Case Manager Ms.
   Mitchell herself and calculated under the First State Act .. resulting in actual early release from
   incarceration of federal inmates; named Immediate Custodian's herein refusal to calculate my
   credits, unlawfully restrains me of my personal federal civil right of liberty under the 14th and 15th




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 39 of 60 PageID #: 39
      Amendments due process and equal protection guarantee of the Federal Constitution for my release
      date of July 20, 2021 instead of my projected release date of March 4, 2022.

  (8) There is already a precedent to this awarding of my First Step Act Time Credits:

  Goodman v. Ortiz (1:20-cv-07582)

  On August 25, 2020 United States District Judge Renee Marie Bumb

  "Ill. CONCLUSION The BOP's position that a prisoner can complete the PATTERN program before
  January 15, 2022 with no benefit to the prisoner is contrary to the statutory language, not to mention
  the unfairness of such a result. Therefore, the Court concludes that Petitioner is entitled to habeas
  relief. The Court will direct the BOP to immediately apply Petitioner's Earned Time credit of 120 days in
  an accompanying Order."

 The entire Order and opinion can be read at
 https:ljwww.courtlistener.com/recap/gov.uscourts.njd.437697/gov.uscourts.njd.437697.12.0.pdf



 Respectfully

 Douglas A. Dyer

 #52293-074




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 40 of 60 PageID #: 40
 ---,)


DATE REVIEWED:        /cf ,.--6 ,r"/ 7

INSTITUTION:          LEX                     UNIT:         CSWYl
                     ---------
INMATE NAME:          DYER, DOUGLAS           REG NO:       52293-074




FIRST STEP ACT (Circle One):                          I   INELIGIBLE


RECIDIVISM RISK LEVEL (Circle One):             G            LOW MEDIUM       HIGH




         Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 41 of 60 PageID #: 41
                             ~/hi:> c~pi, f I (;Ct:(, ff                                 6({ c✓o//2,.f lcl-/t:,,v                 ~.?z-


                     tiJ         Ik -         l,)   u,f:..        13 oP             r1i,,,#, ;,_,_, IJ..      f',-2.."':; "4 .,,.,
                     tfui1-      I 61?JJ<:;h1-) C>if 1&'; 201q LJ4s /Lio r
                     t) Iv
                                              b    L(        I ';?J
                                 fit y J 11. tl✓ t;i,r;C.; Iv i ~ 2,tf 1 ;c t t:'"'1 t11-7
                                                                                           p·Lt:u1/ ·-
                      f.1-   c, j 11.- c.t,,l-\.        /< e: VI .!   i~             LMi      tl6- l'v ~L1 c'ai; D                .:1,.


                     C{Ct 5· :ft 5' o                     7/.,-   /J/l v j      ,.,i..   tv-·1,,z. S ,   C.av             ya     r-J


                     p LC .;L; fr/., A, b.c:
                                    6-                            5" '-' ,t.,.tf,        / /-       /f     C. 1 0   V ,,,__ f-c- /:(      ~z.:J
                     IN I- (-j O.,;,) 1k 7                            p=:;,,__ii_,,_, Kc' ,.,;"w                        4= ,,(_

                     0)G          5· f~ t R 7,                                           .

                                           //i. a,J~                    'y ?' 1../


                                            f) O 'j b yifr- - 5)) 13 ~o 7 '-/




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 42 of 60 PageID #: 42
                                   <!ehucation 1.!Bepartment
                                                        .




                                               ®
                                                    -
                         JLexington           ':
                                                        •.

                                                                _,
                                                                     Jkentuckp
                                               ..           .




                                     '<lrbis Qterttftes m:uat

                                      oua:Ias Jlpet
J1ns' conrµleteb tbe 5 J7our QCotn~se of ~tnbp prescribeb bp tbe jfeberal ~ureatt of ~ri%ons

                           JiARP 50+ FOUNDATION FINANCES
                                   anb is tti:.refore ent{tleb to tbis
                      <!Certificate of t1rogram Qrompletion
                            ©tbe:n at jf:,Jb1QI 1Lexin~ton, Jkentucltp


                   -;}..-?-7- ~0




      Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 43 of 60 PageID #: 43
                  t· ' C'· . ert·11·,··-.
    ,G'ra•d,•. :uaion            11ca e   t
                                     awa.rdled to·:
                                    ,.. u, g,·l'.•ito.
                                    Do            , Dva:;;o
                                                    ··£«
                                                       J~·•


. Com:ple.tion oitFederal Bureau of Prisons Program
I          ,



,                                   Threshold
    Octop~_tt28,. ~QJ9'
    Date
                                                                       C. B_~ Ortiz ~ -
                                                                       dhapl3in
                                                                                          n~•-.
                                                                                             ~-




               Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 44 of 60 PageID #: 44
                                                                                                             ·----··-·· --~-"!
                                                                                                                             i
                                                                                                                             l
                                                                                                                             I
                                                                                                                             !




                            CERTIFICATE OF COMPLETION
                               A MATTER OF BALANCE

                                                      AWARDED TO


                                             Douglas Dyer
                                                      12   Sentry hours

                                             Awarded this 30 of January,    2020




                                                   ~~
                                                CDR Christina Eaker, OTR/1, MPH




_,__ ---.-~,~--»•,   Case    1:21-cv-00104-TRM-SKL
                        -··-··---···-•··--•--
                                '"~---•-.•    ....... Document 1 Filed 05/14/21 Page 45 of 60 PageID #: 45
         ~.   tll,01~4
         .J?}, ,' ':."
             l   ,, -
                       ii
                 /::i\ltl
                          ·,~,      le!t
                              '""'"'H•
                            ...   _,
                                        r -. . l'?J,,-
                                       -~.
                                       ,,~~-
                                       1)~
                                             ill •.•;,, ),,•~· '. \~
                                             lf,l

                                       ,.:,)ri
                                                  <1 Ii ,,:;i
                                                 ,.+,,✓   ·•.\Y
                                                               ,tf.


                                                                  :·
                                                                    ,;


                                                                       ,
                                                                            ..,
                                                                            .

                                                                            ,,,
                                                                                    • ,
                                                                                          .', ft :-
                                                                                           1 i .,
                                                                                                      ;r ,~ , -.; ;
                                                                                                       ~
                                                                                                      '.~\~ ~·
                                                                                                      ,,,v,.,,,,
                                                                                                                        ~ 1?'ii' i.:r•
                                                                                                                      h1-,

                                                                                                               l\:.fl.i'~&
                                                                                                                             /:~


                                                                                                               :~111~e ~ ' ~:"I
                                                                                                                                   ~•tf:-},



                                                                                                                                   '
                                                                                                                                                      .:
                                                                                                                                                      I   !
                                                                                                                                                          ,·    r r.
                                                                                                                                                                       tffijjiP



                                                                                                                                                               ,,.,,,,-.
                                                                                                                                                                                  mr
                                                                                                                                                                                         ·r ~},··\ •~·•
                                                                                                                                                                                                    L1
                                                                                                                                                                                                       ~
                                                                                                                                                                                                           ,,

                                                                                                                                                                                  ~,:;:v <;'' 1t~ , , , ~ ~ ~ -
                                                                                                                                                                                                                ~
                                                                                                                                                                                                                ,1"
                                                                                                                                                                                                                      Ji




          ;::;,),'P'                                                       Ql;l:Jucatton i!lepartment
                                                       JLextngton                                                                             Jkentuckp

                                                                                  'Qtpts QCerttfies 'Qtbat

                                                                   1Jllougla~ jlper
JE)as completeb tbe 16 JE)our QI:our~e of stubp pre~cribeb bp tbe jfeberal J}iureau of l)risons

                                                                                                  COLDWAR
                                                                           anb is tberefore entitleb to tbis
                                                 q[:ertif t.tate of ~rog:ram ~ompletton
                                                               <!@iben at jf;iffilQC 1Lexington, Jltentuckp


      ~
    ,~~i==-o-                                             f i<./ttt
                                                          If
                                                                                                                                                  (
    ~ce QI:oorbinator                                                                                                                          sup~r~f~ot\@.~bucation


      Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 46 of 60 PageID #: 46
       ,i,;tle-t1ml·:",,..
           .· :
               ! "~ ,., ,
                  :,;,
           ,1"is '1
                         , ~~ ". '>tl!t.   ~~.A:;i .,. :•;:    \:
                                                         r;i '::,
           ,. · ,/ ,.,,-:J:; . \,.,. ::,~,, (I),~:!,, ,.,i\,..
                                                                    · ~•
                                                                           l:[~-1,,
                                                                           ~Ci.
                                                                                    0

                                                                                        ·.
                                                                                            ;,;. ~~;,:~1::~r;~r
                                                                            ,t:.,. ,th,,'.,,"(;,,
                                                                                             I
                                                                                                 1:llt!~~i~1
                                                                                                 ',;,,
                                                                                                                ~~.f.JU
                                                                                                                               ~ ~ :~
                                                                                                                              -~
                                                                                                                               1
                                                                                                                                       ("fi).,~fJ".
                                                                                                                                    ,;1 ,,
                                                                                                                       :,),,.,JI'\~~ , '
                                                                                                         '"o(>' ·,;;-~,,.   <,..,,..    ""'''"',,,.... .,,,;;-•' ,,,,.
                                                                                                                                                                                         J!r.ln·
                                                                            •   .                                                                                        ,   ,   ., ..... •·b--

                                                              (!EJ)U(RtfOU iJBepartment
                                           JLexington



                                                      3Dougla~ 31Bper
~as completeb tbe QCourse of ~tuhp prescribeh bp tbe jfeberal Jliureau of ~risons
                                                                   AA.RP FINANCES
                                                              ~nb is tberefore entitlell to tuts
                                 .t. teat£_ a:f._,iP,rogram
                             ~ert''f•'·
                             t'1""               ~          ~ampie
                                                            t'1""· r t'Jon
                                               <©iben at jf;fflQC JLexincrton, J!entuckp
                                                            ;iiiap 10, 2018


                                                                                                                                            3lle -Qfntrp QCoovlftnator


  Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 47 of 60 PageID #: 47
                                         • •::-,~~•• "=,:,;~.   ·=,.-:.;..~~ ·   ...-;.-r.:,· , ·~:'!.~<r't>:'.""-'~.t'=~"-• :-:n::;·:--.~;~--::--.,-,,,.~~ ;·:::-:-11::,."-:l';t..r=::::osi:ri::~-:-- •..,. ._...,.,,_. ·•:- ~.   .·:• •   ··--r




                                   <!fbucation 1!\epartment
                          JLexington                                                                    Jkentuckp

                                     \ltbis <!Certifies 'Qtbat

                                   Jaouglas )aper
JE}as completeb tbe 16 JE}our ~ourse of $tttbp prescribeb bp tbe jfeberal ;iJiureau of ~risons

                                          WORLDWAR2
                                   anb is tberefore entftleb to tbfs
                        (!Certificate of ~ro gram QCompl.etion
                              @iuen at jfj}lf(<!C JLexington, Jkentucltp


   g;                   '1/'!/!9
                        r.
    §ce <!Coorbinator

       Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 48 of 60 PageID #: 48
        f                       C!Ebucation 110epartment
                         JLexington                      Jkentuckp

                                  'Otbi.s Qt:ertifie.s 'Otbat

                                JBougla, JBper
f!,ag completeb tbe 16 f!,our Ql:ourge of $tubp pregcribeb hp tbe jfeberal jiureau of ~rigong

                                 THE U.S. CONSTlTUTION
                                anb fg tberefore entitleb to tbig
                        <tertifirate of ~ro gram (!Completion
                            ~iben at jf;ffiQt Jlexington, itentuckp


      ~-                 ,10~
    ~te Ql:oorbinator

      Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 49 of 60 PageID #: 49
                                                                                                             ,t; leE
                                                                                                                   r
    ~. tlJ~lflli
                                                                      ,. - !.1   ~           A :;, . '.( ,4¥, ·,,~
                                                                                                        fv..;tlil.1. ~-~
                                                                                                                     ;f   ?i                                                                           f
                                                                                                                                    ~fi ~· .-" ,··1~:
                                                                                                          -
                                                                                                                                                             i ;
                                                                                                                                                                                              ~
                                                                                                                                                                       k'.•!r,           1•   .   .,
               ,.,.rJ           1    ll/..;.   •.•.    ,q   1•,.-?$
                                                            !m.                  rt     J,   d ·; r.;   \;·'·\       ,,, '~.": ~j                       fM   l   ' ;         ,.,;;   I            j ,.     ,.


    •~;!,               f1~;y;:,/'~••l>"              '•>         '
                                                                                 4_ i                                                                                                    -    •   'l"'~'':S,.,--~:
     f' ....   ,V                                                                Clebucatton 1.lBepartment
                                                            JLexington                                                                      Jkentuckp
                                                                                      ~bis <!Certifies ~bat

                                                                          Jlougla11 Jlper
~as completeb tbe QJ:ourse of stubp prescribeb bp tbe jfeberal ~ureau of ~risons

                                                                       FINANCIAL PEACE l.JNI\fERSITY
                                                                             %tub is tberefore entitleb to tbis
                                               <!Cetttftcate of ~,togtam C!Co.tnllietiou
                                                                      ~iben at jf;!flf(QC 1Lexington, ~entuchp
                                                                                ~ugu9't 14, 2018


                                                                                                                                                                   3Re-<!Entrp QJ:oodiina'.tor


  Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 50 of 60 PageID #: 50
           Certificate of Completion
                                         Presented to
                                      DOUGLAS DYER
                              For successfully completing the

                           Drug Abuse ,Education Course
The Drug Abuse Education Course is a 11iinimum of 12 hours. Tlte goal o.f this program is to help
the offender to make an accurate evaluation of the consequences of his/her alcohol/drug use and
                  "            consider the need for treatlnent.

                          ~~
                           <~~21/2018
                                                                    /.2-2/-2/)/Q
                                                                           .
                           FMC Lexington       Institution




           Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 51 of 60 PageID #: 51
         f-----~                          QEbucatton 11Bepartment                     ·
                              JLextngton                           Jkentuckp

                                            ~bis <!Certifies ~bat

                                     119ougla~ 119ptr
~as completeb tbe 16 ~our QI:ourse of $tubp prescribeb hp tbe jfeberal r,iureau of ~risons

                                    COMMERCIAL REAL ESTATE 2
                                          anh is tberefore entitleh to tbis
                             QCertifitate of ~rogram QCompletion
                                  ~iuen at jf:ffiQC JLexington, 1Ltentuckp

                                                                              (""'
                                                                                      r-/'
);!ft;
    ;,;,i,"~ QI:oorbinator
                              ·2/!!)_1q
                                                                          \>. (I\ j
                                                                          \~~ ..       I


                                                                     $Uper~ifot a_f~bucation


       Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 52 of 60 PageID #: 52
                    e~1;~;}t(I     i~ ,!\ ';~·,~"-JI'
                                                  I        lr  qEt··;»~~•re··.\,
                                                         I

                 j~  ,. ,.,l
                    'fu,,ir·
                      )\
                            k~.-~,
                               iW · ~ _.,,    "'4Y
                                                    1tt~tl!
                                                     '@~ ~ ,
                                                            .·
                                                                  ,,,;.,l· . . ' r ""'··
                                                               ftli l
                                                               ff!f#
                                                                        ~ ~~        .           l~... ~~ ~.
                                                                                                                    ·~
                                                                                                                  !1~ .
                                                                                                                ·,__
                                                                                                              i,.
                                                                                                                                 ' ~Af~
                                                                                                                          J!Qw· ~~-
                                                                                                                                 i§,-,



                                    <!Ebucatton iJBepartment               - --
                                             JLexington                  @
                                                                         .


                                                                             .   . ..
                                                                                        '
                                                                                            :
                                                                                                     Jkentuckp

                                                             Z!Cbis QCertifies Z!Cbat

                                                         mougla~ mper
~as co1npleteb tbe 16 ~our QCourse of ~tubp prescriheb bp tbe jf eberal rfilureau of ~rtsons

                                                         STOCK MARKET TRADIN6.
                                                         anb is tIJerefore entitleb to t{Jis
                                       QCertif icate of ~to gram QCompletion
                                                     @iben at jf;iffilQC JLexington, 1kentucltp


    l'7'(    '                           '1/;.1 /, /,;
    ..::ice Qtoor'),.utnator
                      ·                      ,·..j!J_


            Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 53 of 60 PageID #: 53
 certificate of CompJetj011
                         This is to certify that:

                    Douglas Dyer
                 Has successfully completed the

          Resume Writing & Interview Skills
               Requiring         20   hours of lraining

                             In Witness Thereof the Undersigned
                        th
  Given this       16        day of April     , two thousand _19_


                                         <7?o£?=reiey?
Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 54 of 60 PageID #: 54
                           Certificate of Completion
                            This certificate is awarded to:
                                            ~·~flfeJr,                                                  .>t@fJ,·:
                                                                                                          :?JE
                                 For participating in the                                              -,,,,~·~·.• .;- -
                                                                                                        ;;-{~(~

                                                                                                       i
                                                                                                              ~
                                                                                                         \P,:,;
                                                                                                        ~;....... •
                                                                                             •:         ?..l #.r:
                                                                                                       .3/i¼ ~
         Health and Nutrition Class (1 hour) at FMC Lexington                                           't{f,~~
                                                                                                         ·'•~i1z1
                                                                                                           .~It~i
                                                                                                        ~·\}~1T1
                                    November 6, 2019                                                    :~:1Rs/.
                                                                                                        ~:\;"'I.'
                                                                                                        ·:-:·;~ -1'•\ll
                                                                                                        1/t., ,14.
                                                                                                         ·t:r/,~]£_~·



Signed: T. ~ e c . Spec.
                                            November 2019
                                                                                                          Jj
                                                                                                         . •~~$/
                                                                                                        (\ti
                                                                                                        ~;:~~#,
                                                                                                        ',:>'-~..~~,.




                                                                                                         II
                                                                                                         t~:1.~
                                                                                                          ·, .~.~-ii (
                                                                                                        f.:~~::-£~~,.,.

                                                                                                        I ..
                                                                                                        ('.;,<ttf/;/\"'
                                                                                                             ~~ t
                                                                                                          ::·:.:•\:~,\




                                     tA¾J:~:;;}f~;{:E, ~tf~'~.J'.~~,J]tfasi!2¾¥~t];,~~~~~\t:~:1~15)&r'.,},.~,
          Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 55 of 60 PageID #: 55
                        1Lexington        :@:
                                          ,'
                                                         ,i.,;:,: \
                                                         ~i,;;:,,,,,,- ...
                                                                                  1&.entuckp
                                               ····.:.      ~~·~      _,:    .·
                                                         ·.·,:._-




                                 ~bis QCertifies ~bat

                            13ouglas 13per
~as completeh tbe 8 ~our <!tourse of ~tuhp prescribeh bp tbe jfeheral jijureau of ~risons

                                     MONE.YSMART
                              anh is tberefore entitleh to tbis
                     QCertificate of ~ro gram QCompletion
                          ©iben at jf;fflfl<!t JLexington, 1!.entuckp

~ -

                         ~Cl




      Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 56 of 60 PageID #: 56
         jf:el.le-cal ;@lebtta:f etrnte:r
             ·                      Qfbucatton t!\epartment
                         JLextngton /~·
                                    .lli~l                   J!entuckp

                                     'crtbis <!Certifies' 'crtbat

                              mouglas mper
ri)as co1npleteb tbe 16 ri)our QCourse of ~tuhp prescribeb hp tbe jfeberal j)jureau of ~risons

                                         US PRESIDENTS
                                   anb is tberefore entitleh to tbis
                      QCertifirate of ~ro gram (!Completion
                           @iben at jf:iffilQC 1Lexington, 1!entuckp


 ~                      '1/1/!tz
                         .- ,
 ~ce QCoorbinator


       Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 57 of 60 PageID #: 57
                                                                                             Douglas A. Dyer

                                                                                 Certified Quality Improvement Associate


ASQ
                                                                     Certificate Number         Date Issued


                                                                             14827             2/21/2020



 July 6, 2020

 65854051
 Douglas A. Dyer
 179 Callaway Ct
 Chattanooga, TN 37421-0608




 Dear Douglas A. Dyer:

 CONGRATULATIONS! The Certification Council is pleased to announce that you have passed the written
 examination for the ASQ Certified Quality Improvement Associate Certification. You have reached an important
 milestone in your professional development.

Certification is not a license. It is peer recognition of proficiency in the prescribed body of knowledge. Please refer
to your certification in terms which are consistent with the legal requirements and use of certification in the location
in which you reside. We recommend that you refer to yourself as an "ASQ Certified Quality Improvement
Associate." It is very important that you associate the Society with your certification.

Enclosed is your certificate and ASQ Code ofEthics. As a certified individual, the ASQ Code of Ethics should
serve as your professional guide. Please review this information and call ASQ Headquarters if there are any
discrepancies.

You can be rightfully proud of your certification as recognition of your professional knowledge by your peers in a
professional society.

We look forward to your continued participation in the Society.

Sincerely,



Alan M. Bell, Chair
ASQ Certification Council




                                                600 N. Plankinton Ave.   I   Milwaukee, WI 53203-2914   I   800-248-1946   I   www.asq.org

Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 58 of 60 PageID #: 58
     American Societ;y for Qualit;y
                                Douglas A. Dyer
       has satisfactorily fulfilled the requirements established
            by the Society for professional attainment in

                           Quality Improvement

                   and is, therefore, certified by the Society as a

 Certified Quality Improvement Associate
                               Certification Number   14827
                               Certification Date     2/21/2020




          / ~/'y///J
         (__;:?;      (}   /                                 ~
                                                             y~-;z:=5~
                                                                  ~    -~
        Chair, Certification Board                                    Chair




Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 59 of 60 PageID #: 59
       'i"-
      !~---\ ) le, s b vf-/4.-
              (.
                             /

      17 Cf                          C-t.
      C'           c{v1.co9c>        ·-
                                     /u, 371-/   _'2(

                                 i           .   .

                        +/And deft' v'ueJ ·fo
                         I




                                     l6bby                                                                  }




                                                                                         -l{   J
                                                                                               I       f-
                                                         /1/


                                                        (.) L'iL-f            ~
                                                                              1<:(   A
                                                               !V\   D        cl
                                                                                               7,:;o
.;
                                                                         ,)




     Case 1:21-cv-00104-TRM-SKL Document 1 Filed 05/14/21 Page 60 of 60 PageID #: 60
